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UN|TED STATES OF Al\/|ER|CA
P|aintiff

VS.
CR. NO. 05-20067-D

GREGORY REED

Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on N|ay 19, 2005. At that time, counsel forthe
defendant requested a continuance of the June 6, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to July 5, 2005 with a LeMt
date of Thursdav. June 30, 2005, at 9:00 a.m., in Courtroom 3. 9th Floor of the Federa|
Bui|ding, N|emphis, TN.

The period from June 17, 2005 through July 15, 2005 is excludable under 18
U.S.C. § 31 61 (h)(B)(B)(iv) because the ends ofjustice served in allowing for additional time
to prepare outweigh the need for a speedy trla|.

ir is so oRDERED this.=@ day of May, 2005.

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 18 in
case 2:05-CR-20067 Was distributed by faX, mail, or direct printing on
May 24, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

